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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 10-cr-65-01 SM

Jeremy Clough



                                      ORDER

      The defendant, through counsel, has moved to continue the trial scheduled for

July 20, 2010 for a period of 60 days, citing the need for additional time for

discovery. Co-defendant Rebecca Field does not object, nor does the government

object to a continuance of the trial date.

      Accordingly, for the above reasons, the court will continue the trial from July

20, 2010 to September 21, 2010. In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best interests of the public and

the defendants in a speedy trial. The defendant shall file a waiver of speedy trial not

later than July 16, 2010.
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      Final Pretrial Conference:       September 10, 2010 at 10:30 AM

      Jury Selection:                  September 21, 2010 at 9:30 AM

      SO ORDERED.



July 8, 2010                           _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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